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                        THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

QUENTIN CRABTREE, individually and on
behalf of others similarly situated,                  Civil Action No. 16-cv-10706

               Plaintiff,                             Hon. Charles R. Norgle, Sr.

       v.                                             Hon. David Weisman

EXPERIAN INFORMATION SOLUTIONS,
INC.,

               Defendant.

          DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.’S
      MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION


       Pursuant to Federal Rule of Civil Procedure 12(b)(1), Experian Information Solutions,

Inc. (“Experian”), hereby moves to dismiss Plaintiff Quentin Crabtree’s (“Plaintiff”) claims

against Experian as pleaded in the First Amended Complaint. In support of its motion, Experian

submits the accompanying memorandum of law and supporting exhibits, and states as follows:

       1.      In order for a federal court to exercise subject matter jurisdiction over an action,

the court must be satisfied that a plaintiff have standing to sue. Standing requires a showing that

a plaintiff has “(1) suffered an injury in fact, (2) that is fairly traceable to the challenged conduct

of the defendant, and (3) that is likely to be redressed by a favorable judicial decision.” Spokeo,

Inc. v. Robins, 136 S. Ct. 1540, 1547, (2016), as revised (May 24, 2016).

       2.      Federal courts must satisfy themselves that they maintain jurisdiction throughout

the proceedings, and not merely at the outset. Where the factual underpinnings of a plaintiff’s

claim to standing are challenged, the plaintiff must adduce evidence to show that he has in fact

suffered a concrete injury to support standing. See Apex Digital, Inc. v. Sears, Roebuck & Co.,

572 F.3d 440, 443 (7th Cir. 2009).
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         3.     As elaborated in Experian’s accompanying memorandum of law and supporting

exhibits, discovery has made clear that Plaintiff has not suffered any violation of any of his rights

or any other cognizable injury.

         4.     Accordingly, Plaintiff lacks standing to sue, and this Court is now deprived of

subject matter jurisdiction.

         WHEREFORE, Experian respectfully requests that this Court enter an order dismissing

Plaintiff’s claims in their entirety with prejudice.



Dated:        November 16, 2017                    Respectfully submitted,




                                                   s/ Adam W. Wiers
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                                                   Experian Information Solutions, Inc.
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                                 CERTIFICATE OF SERVICE


       I hereby certify that I caused a copy of the foregoing to be electronically filed with the

Clerk of the U.S. District Court for the Northern District of Illinois through the CM/ECF system,

which will electronically send notice to counsel for all parties that have appeared in this case.


                                              s/ Christopher A. Hall.
                                              Attorney for Defendant
                                              Experian Information Solutions, Inc.
